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1 , UNITED STATES DISTRICT COURT

2 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
3 SOUTHERN DIVISION

4

5 KASEY D. ALVES,

6 Plaintiff,

7 VS. CAUSE NO.: 1:06cv912 LG-JMR

8 HARRISON COUNTY MISSISSIPPI, BY AND
THROUGH THE BOARD OF SUPERVISORS;

9 HARRISON COUNTY SHERIFF'S DEPARTMENT;
SHERIFF GEORGE PAYNE, JR.; AND

10 HEALTH ASSURANCE, LUC.,

LL Defendants.
12
13 . DEPOSITION
14 . OF
15 GEORGE PAYNE, JR.
16 Taken on behalf of the Plaintiff
17 9:30 a.m., Tuesday, February 12th, 2008
18 before
19 Lisa H. Brown, CSR #1166
20
21
22
23 COAST-WIDE REPORTERS
Court Reporters
24 Post Office Box 95

Biloxi.,,. Mississippi 39533-0095
25 (228) 374-5066

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(Whereupon, Exhibit 1 was marked.)
GEORGE PAYNE, JR.,
having been produced and first duly sworn, was

examined and testified as follows:

EXAMINATION
BY MR. PRINGLE:
Please state your name.
George H. Payne.
Your current occupation?
Retired.
When did you retire?
January of this year.

What was your occupation before you retired?

> Oo Pp OD» OD BO

Sheriff of Harrison County.

Q. And for what period of time did you serve as
sheriff?

A. Bight years. January 2000, I believe, is

when I started.

Q. January 2000 is when you took the first
office?

A. First took office.

Q. And you served in that office through

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1 December of 2007?

2 A. Yeah.

3 QO. As Sheriff of Harrison County, what is your
4 or what was your role in the supervision, of the

5 Harrison County Adult Detention facility?

6 A. I was responsible for whatever went on

7 there.

8 Q. What oversight, if any, did the Harrison

9 County Board of Supervisors provide in your

10 supervision of the jail?
il A. They were the funding source.
12 Q. Were you ever reguired to submit any
13 policies to the Harrison County Board of Supervisors?
14 A. Required to submit policies. and procedures?
15 Q. Yeah. Policies and procedures for the

16 jail, were you ever required to submit them to the

17 Board of Supervisors?
18 A. I don't think by statute I was required to,
19 but we tried to.
20 Q. When you would try to submit them to them,
21 what is the reason you would do that?
22 A. For budgetary reasons, to jiet them know if
23 we needed this and needed that, or if we were short on
24 manpower why we were short on manpower, things of that
25 nature.

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1 receive some additional manpower?
2 A. Received funding for fifty more officers.
3 Q. Do you remember how many you were requesting
4 at the time that you received funding for fifty more?
5 A. No, I don't.
6 QO. Was the jail properly staffed, in your
7 opinion, during the time that you were the Sheriff of
8 Harrison County, Mississippi?
9 A. No.
10 Q. To what do you attribute that lack of staff?
11 A. Lack of funding.
12 Q. Did you submit budgets to the Board of
13 Supervisors requesting funding?
14 A. Every year, yes, sir.
15 Q. The budgets that you submitted, if approved,
16 would that have given you adequate manpower?
17 A. Yes.
18 Q. In any year that you submitted those budgets
19 for adequate manpower at the jail, did the Board of
20 Supervisors ever approve it?
21 A. Only when they were forced that one time by
22 Judge Gex, as I can remember.
23 QO. Now, in your attempt to obtain adequate
24 manpower at the jail, other than submitting budgets,
25 policies and procedures, were there any other matters

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